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                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

RICK BUTLER, an individual, CHERYL BUTLER, )
an individual, and GLV, INC., an Illinois  )
Corporation,                               )                     Case No. 1:21-cv-6854
                                           )
                      Plaintiffs,          )                     Honorable Charles P. Kocoras
                                           )
        vs.                                )
                                           )
NANCY HOGSHEAD-MAKAR, an individual,       )
CHAMPION WOMEN, a Florida Not-For-Profit )
Corporation, and DEBORAH DIMATTEO,         )
                                           )
                      Defendants.          )

  DEFENDANTS’ MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM AND
     PURSUANT TO THE FLORIDA AND NEVADA ANTI-SLAPP STATUTES

        NOW COME the defendants, Nancy Hogshead-Makar (“Hogshead-Makar”), Champion

Women (“Champion Women”), and Debra DiMatteo (“DiMatteo”), (collectively, “Defendants”), by

and through their legal counsel, and together, respectively move this Court, pursuant to Rule 12(b)(6)

of the Federal Rules of Civil Procedure, for entry of an order dismissing with prejudice plaintiffs’ First

Amended Complaint and, pursuant to Florida and Nevada’s anti-SLAPP statutes, an award of

Defendants’ reasonable attorney’s fees and costs. In support thereof, Defendants jointly submit the

following:

        1.      Plaintiff, Rick Butler (“Butler”), is, by his own admissions, “the most powerful coach

in the sport of junior volleyball.” First Am. Compl. ¶ 2 (Doc. #15) (“Compl.”).

        2.      The First Amended Complaint details the decades of success and notoriety Butler and

his wife, Cheryl, have achieved through their business, GLV, Inc., in hosting volleyball tournaments,

camps, clinics and other sporting events. Id. at ¶¶ 3, 11-14.
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        3.      Plaintiffs also detail the decades of bad publicity surrounding them as a result of

Butler’s admitted decision to engage in sexual relationships with the young female volleyball players

he coached. Id. at ¶¶ 4-6, 9, 10-11, 17, 19, 101, 128, 132, 137, 144, 153 & p.24, nn.6-7.

        4.      The accusations of his victims, statements and admissions by Butler, disciplinary

findings by administrative agencies and subsequent lawsuits (filed by and against Butler) in connection

with this public interest issue have collectively generated decades of publicity, as well as social justice

and public policy discussions reaching the highest ranks of sports governance in this country. Id..

        5.      The Defendants, who are staunch advocates for women’s rights in athletics, joined the

loud and already-public discourse about Butler and now find themselves defending a lawsuit designed

to disrupt their social justice efforts and bankrupt them in the process. Id. at ¶¶ 16, 36, 38 & 88.

        6.      This lawsuit arises from Plaintiffs’ distaste over publicity surrounding (a) Butler’s

uncontroverted history of engaging in sexual and emotional relationships with his minor volleyball

players, (b) Butler’s checkered history, and (c) the Defendants’ collective efforts to educate members

of the volleyball community and influence their disassociation with Butler because of the numerous,

well-documented accusations and findings against him. Id. at ¶¶ 25, 50-52, 56-57, 59-61, 68, 73, 89-90,

93, 121, 136, 143-44, 146, 155, 165, 180-81, 189-90, 198-200 & 211.

        7.      Plaintiffs attempt to allege causes of action for Tortious Interference (Counts I and

II), violation of the Uniform Deceptive Trade Practices Act (Count III) and Illinois’ Consumer Fraud

Act (Count IV) and Civil Conspiracy (Count V).

        8.      However, each claim asserted is based solely on the protected speech of the

Defendants on matters of public interest. Id. at ¶¶ 21, 25, 50-52, 56-61, 68, 71, 73, 80-82, 89-90, 92-

93, 121, 136, 143-44, 146, 148, 151 & 180.

        9.      Illinois law strictly rejects efforts by a plaintiff to evade free speech defenses and the

limited, one-year statute of limitations by masquerading their defamation action by another name.

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Imperial Apparel, Ltd. v. Cosmo’s Designer Direct, Inc., 227 Ill. 2d. 381, 402-03 (2008); see also Hustler

Magazine, Inc. v. Falwell, 485 U.S. 46, 56 (1988).

        10.     As detailed in Defendants’ contemporaneously filed Memorandum of Law, Plaintiffs

cannot cure the defects through another amendment of their pleading where:

                a. As pled, the offending public statements at the heart of each count were voiced
                   more than one year before their lawsuit was filed, and as such, they are categorically time-
                   barred;

                b. Plaintiffs are each considered a “public figure” who faces a heightened pleading
                   standard of demonstrating Defendants acted with “actual malice” -- Plaintiffs
                   have not and cannot meet this burden;

                c. Plaintiffs’ state-law-based claims are based on constitutionally protected speech
                   and Defendants actions are shielded by the Fair Reporting Privilege;

                d. Defendants’ offending speech is not the type of disparagement and deceptive trade
                   practices that the Illinois commercial statutes were designed to protect against; and

                e. Plaintiffs’ claims are preempted by certain statutory defenses enacted to prevent
                   retaliatory litigation against those who speak publicly on matters of public concern.

        11.     To that end, a majority of the states in this country have enacted laws to preempt the

exact type of abusive litigation tactic employed by Plaintiffs in this case.

        12.     “Strategic lawsuits against public participation” or “SLAPPs” are lawsuits disguised as

defamation, tortious interference or related causes, but the overarching purpose is to prevent the target

defendants from engaging in constitutionally protected activities; namely, free speech.

        13.     As explained in the attending Memorandum of Law, Northern District openly

recognizes that the domicile state of the speaker is the key factor in determining what state statute

governs a particular defendant’s SLAPP defense.

        14.     Here, Florida’s (Hogshead-Makar and Champion Women) and Nevada’s (DiMatteo)

respective anti-SLAPP statutes are properly considered and dictate an immediate dismissal of all claims

and also mandate the reimbursement of costs and attorneys’ fees expended by the Defendants to

combat the SLAPP.

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        15.     In accordance with this Court’s Order entered on June 17, 2022 (Doc. #19),

Defendants are concurrently filing a joint memorandum in support of this motion in excess of the

fifteen-page limit prescribed by the local rules.

        WHEREFORE, for the reasons set forth above and in the attending Memorandum of Law,

the defendants, Nancy Hogshead-Makar, Champion Women and Debra DiMatteo, respectfully

request that this Court (a) enter a dismissal with prejudice of Plaintiffs’ First Amended Complaint

pursuant to Rule 12(b)(6), (b) enter an award of the Defendants’ respective attorneys’ fees and costs

pursuant to the applicable Florida and Nevada anti-SLAPP statutes, and (c) enter any additional relief

this Honorable Court deems just and fair under the circumstances and in obeyance of the law.


                                                       Respectfully submitted,
                                                       SmithAmundsen LLC

                                                       _________________________
                                                       Danessa P. Watkins


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